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                        IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


 EBENCONCEPTS COMPANY,                            §
                                                  §
          Plaintiff,                              §
                                                  §
 v.                                               §           Civil Action No. 3:21-cv-00285-M
                                                  §
 DAVID CRUMPLER and DENISE                        §
 DELEMAR a/k/a DENISE WILLIAMS                    §
 a/k/a DENISE CARGILE,                            §
                                                  §
          Defendants.                             §




 NOTICE OF DISMISSAL OF CLAIMS AGAINST DEFENDANT DENISE DELEMAR
                               ONLY

         Pursuant to Fed. R. Civ. P. 41(a), Plaintiff Ebenconcepts Company (“Eben” or “Plaintiff”)

files this Notice of Dismissal of Claims Against Defendant Denise Delemar Only and hereby

dismisses, without prejudice, Eben’s claims against Denise Delemar only.

         Plaintiff’s claims against Defendant David Crumpler are not affected by this filing.




PLAINTIFF’S NOTICE OF DISMISSAL OF CLAIMS AGAINST DEFENDANT DENISE DELEMAR ONLY
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Dated: April 16, 2021                               Respectfully submitted,




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                                                   ATTORNEYS FOR
                                                   EBENCONCEPTS
                                                   COMPANY




                                CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing document was served pursuant
to the Federal Rules of Civil Procedure on all counsel of record on April 16, 2021.




                                                            _____________________
                                                            Jose M. Portela




PLAINTIFF’S NOTICE OF DISMISSAL OF CLAIMS AGAINST DEFENDANT DENISE DELEMAR ONLY
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